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UNITED STATES DISTRICT COURT
DISTRlCT OF RHODE ISLAND

THE ESTATE OF YARON UNGAR, et al.

Plaintiffs

Vs. C.A. No. 00 - 105L

THE PALEST]NIAN AUTHORITY, et al.
Defendants

PLAINTIFFS’ OBJECTION TO DEFENDANTS’ MOTION TO
DISMISS THE COMPLAINT

Now come the Plaintiffs and hereby object to Defendants' Motion to Dismiss the
Complaint. Plaintiffs’ objection is supported by the attached Mernorandum in Support of
Their Obj ection and accompanying exhibits, as Well as all of the pleadings filed in this

matter.

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Plai'ntiffs §
§y their Attorneys 11

»Q@nd J Strachman #4404
Skolnik, Mclntyre & Tate Esqs, Ltd.
321 South Main Street, Ste. 400
Providence, Rl 02903
(401) 351-7700

Dated: Septernbei' 13, 2000

CERTIFICATION

 

l hereby certify that on the 13th day of Septernber, 2000, l mailed a true copy of the
Within objection to:

Ramsey Clark, Esquire
Lawrence W. Schilling, Esquire
36 East 12t street

NeW York, NY 10003 3
SKOLNIK, MCINTYRE &TATE ` j

The Heritage Building
_ 321 South Main Street Suite 400 401-351-7700
ESQu1res Ltd. Providen¢e, 111 02903 Fax; 401-331_6095

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l hereby certify that on the 13th day of September, 2000, l hand delivered a copy of the
Within objection to:

Deming E. Sherrnan

EdWards & Angell, LLP

2800 Bank Boston Plaza

Providence, Rl 02903 j

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SKOLNIK, MCINTYRE §_TATE The H€n'tage Building
_ _ _ _ _ _ _ _ ___ _~ 321 South Main Street, Suite 400 401-351-7700
ESQrures Ltd. Providence, 111 02903 Fax¢ 401~331_6095

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